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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

U.S. BANK_. NATIONAL ASSOClATION, solely in
its capacity as Trustee of MASTR ADJUSTABLE
RATE MORTGAGES TRUST 2006~0A2, MASTR

 

ADJUSTABLE RATE MORTGAGES TRUST 2007-1, lZ-cv-?322 (PKC)(JCF)
AND MASTR ADJUSTABLE RATE MORTGAGES
TRUST 2007-3, REPORT AND
RECOMMENDATION
PlaintiH`,
-against-

UBS Real Estate Securities, Inc.,

 

Defendant.

 

BARBARA S. JONES, MASTER

On Novernber 2_. 2016, l was appointed as Lead Master to oversee the timely entry ol`
findings of` fact and conclusions of law relating to loans that were not resolved by the Court’S
September 6, 2016 Memorandum and Order in this litigation (w ll!2f 16 Order.) On April 13,
2017, the Court entered an Order on Consent appointing me as Sole Master. (B 4!18!1 ?
Order.) Pursuant to that appointment, l now make the following recommendations for a
procedure to resolve the outstanding loans.

l. I will conduct a loan-by-loan review of each outstanding loan, ordered by
category. The first category l will review are those loans for which Plaintiff asserts there has
been a breach of the MLS Wan'anty that involves borrower fraud due to undisclosed debts. l will
identify subsequent categories as my review proceeds, but it is my expectation that l will
prioritize review of loans for which Plaintil`f asserts borrower fraud.

2. For each outstanding loan in an identified category, Plaintiff is to submit to me a

document of no more than 500 words setting forth (i) a numbered list of all breaches Plaintif`f

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asserts with respect to the loan,' and (ii) all evidence and arguments in support of each asserted
breach, together with appropriate citations to the record (r'. e, bates and exhibit numbers).
Plaintiff is also to provide me with a copy of all record materials cited in its submission,
including all guidelines relevant to my evaluation of the loan.

3. Plaintiff is to roll its submissions to me at a rate of no fewer than 400 loans per
month, until all loans within an identified category have been submitted. Plaintiff’s first batch of
submissions shall be due on June l, 201?.

4. Upon receipt of Plaintiff"s submission with respect to a given loan, Defendant
will have 45 days to submit to me a document of no more than 500 words setting forth its
response, if any_. to each asserted breach, together with appropriate citations to the record. lf
Defendant cites to any record evidence other than that provided by Plaintifi`, Defendant shall
include that evidence with its submission

5. Upon receipt of Defendant`s responsive submission with respect to a given loan,
Plaintifi` will have 21 days to submit a repiy, if any, of no more than 250 words. If` Plaintifi` cites
to any record evidence other than that provided in the prior submissions, Plaintii`i` shall include
that evidence with its reply.

6. Thc parties’ submissions should include any arguments they wish to make
regarding the admissibility of loan files for the loan at issue stemming from Judge Castel’s April
20, 2017 Order. (§E 4!20!1? Order.)

?. The parties' submissions may not cite or reference any materials outside of the

record.

 

' Consistent with the Court‘s determination that “[w}ith the exception ot` calculation of damages and withdrawal of
claims of breach by the Trusts1 the evidence is closed," Plaintiti" may not assert breaches not already included in the
record. (l |f2/16 Order at 236.) Plaintii`f`should, however, omit breaches il no longer desires to assert.

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8. The parties should provide their submissions to me in both electronic and paper
form.

9. lt is my intention to hold argument on each category of loans before I issue any
reports and recommendations If I require any additional information, materials, or argument
with respect to a given loan, l will request such infon'nation, materials_. or argument from the
parties lf I find in Plaintit`f`s favor based on one of Plaintii°t`s asserted breaches for a given loan,
my report and recommendation need not address Plaintifi”s additional asserted breaches for the
loan.

10. Within thirty days of my issuance of a report and recommendation, either party
may tile objections with the Court. The parties may not object based on breaches or arguments
not asserted in their submissions to me.

l l. Each party may file a response to the other party’s objections to a report and
recommendation within twenty-one days.

12. The Court’s review of my recommendations shall be de novo.

Dated: New Yorl<, New \’ork
May l, 201?

S() ORDERED:

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ara S. jones
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